Case 22-18303-JKS                 Doc 144-5 Filed 09/01/23 Entered 09/01/23 21:31:10        Desc
                                      Proposed Order Page 1 of 2


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
THE LAW OFFICES OF STEVEN D. PERTUZ, LLC
111 Northfield Avenue, Suite 304
West Orange, NJ 07052
Tele: (973) 669-8600 / Fax: (973) 669-8700
Counsel to Debtor-in-Possession
By: Steven D. Pertuz, Esq. (SDP-5632)
    spertuz@pertuzlaw.com
    John O’Boyle, Esq.
    joboyle@norgaardfirm.com (JO-6337)

                                                       Chapter 11
In Re:                                                 (Subchapter V Small Business)

BAV AUTO, L.L.C.                                       Hon. John K. Sherwood

                      Debtor-in-Possession.            Case No. 22-17933 JKS

ALEXANDRE DACOSTA and
VIVIANNE ANTUNES

                      Debtors-in-Possession.
                                                       Case No. 22-18303 JKS




  ORDER GRANTING INTERIM ALLOWANCE OF FEES AND REIMBURSEMENTS
               OF EXPENSES TO COUNSEL TO DEBTOR


         The relief set forth on the following pages, numbered two (2) is hereby ORDERED.
Case 22-18303-JKS         Doc 144-5 Filed 09/01/23 Entered 09/01/23 21:31:10             Desc
                              Proposed Order Page 2 of 2


Debtor: BAV AUTO, L.L.C. Jointly Administered Case
Case No. 22-18303/22-17933 JKS
Re:     ORDER GRANTING INTERIM ALLOWANCE OF FEES TO COUNSEL TO DEBTOR
____________________________________________________________________________________________




       THIS MATTER, came to the attention of the Court upon the application of The Law

Offices of Steven D. Pertuz, LLC, counsel to the Debtor, BAV Auto, L.L.C., and it appearing

that due notice of said fee application was sent to all known creditors and parties in interest

herein; and no objections of the interim allowance of such fees and expenses having been filed

with the Clerk of this Court; and the Court having considered the Application as filed; and good

cause appearing therefrom for the making of this Order, it is therefore

       ORDERED, that The Law Offices of Steven D. Pertuz, LLC be and the same hereby

awarded an interim allowance of fees in the amount of $43,420.50, together with reimbursement

of actual out of pocket disbursements in the sum of $2,263.00., for a total of $45,683.50, of

which there remains a balance due of $30,683.50.




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